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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                             Magistrate Judge Kathleen M. Tafoya

  Civil Action No. 13–cv–03309–REB–KMT


  MARTIN THOMAS WIRTH,

         Plaintiff,

  v.

  JOHN HICKENLOOPER, in his official capacity as Governor of Colorado,
  JOHN SUTHERS, in his official capacity as Attorney General of Colorado,
  STEPHEN A. GROOME, in his official capacity as 11th District Court Judge,
  VICKI ARMSTRONG, in her official capacity as Public Trustee of Park County,
  NATIONSTAR MORTGAGE, LLC,
  LAWRENCE E. CASTLE, in his corporate and individual capacities, and
  THE CASTLE LAW GROUP, LLC,

         Defendants.


                ORDER SETTING RULE 16(b) SCHEDULING CONFERENCE
                        AND RULE 26(f) PLANNING MEETING



         This case has been referred to Magistrate Judge Kathleen M. Tafoya by District Judge
  Robert E. Blackburn, pursuant to the Order of Reference filed December 18, 2013. See 28
  U.S.C. §636(b)(1)(A) and (B) and Fed. R. Civ. P. 72(a) and (b).

         IT IS HEREBY ORDERED:

         (1) The court shall hold a Fed. R. Civ. P. 16(b) scheduling and planning conference on

                                          April 2, 2014, at
                                    9:30 a.m. (Mountain Time).
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  The conference shall be held in Courtroom C-201, Second Floor, of the Byron Rogers U.S.
  Courthouse, 1929 Stout Street, Denver, Colorado. If this date is not convenient for any party1,
  he or she shall file a motion to reschedule the conference to a more convenient time. Please
  remember that anyone seeking entry into the Byron Rogers United States Courthouse will
  be required to show valid photo identification. See D.C.COLO.LCivR 83.2B.

         A copy of instructions for the preparation of a scheduling order and a form scheduling
  order can be downloaded from the Court’s website at
  www.cod.uscourts.gov/CourtOperations/RulesProcedures/Forms (Scroll down to the bold
  heading “Standardized Order Forms”). Parties are to prepare the proposed scheduling order in
  accordance with the Court’s form.

         The parties shall submit their proposed scheduling order, pursuant to District of Colorado
  Electronic Case Filing (“ECF”) Procedures V.5.12, on or before:

                                    5:00 p.m. (Mountain Time) on
                                           March 26, 2014.


          (2) In preparation for the scheduling/planning conference, the parties are directed to
  confer in accordance with Fed. R. Civ. P. 26(f), on or before:

                                            March 12, 2014.

  The court strongly encourages the parties to meet face to face, but should that prove impossible,
  the parties may meet by telephone conference. All parties are jointly responsible for arranging
  and attending the Rule 26(f) meeting.

          During the Rule 26(f) meeting, the parties shall discuss the nature and basis of their
  claims and defenses and the possibilities for a prompt settlement or resolution of the case, make
  or arrange for the disclosures required by Fed. R. Civ. P. 26(a)(1), and develop their proposed
  scheduling/discovery plan. The parties should also discuss the possibility of informal discovery,
  such as conducting joint interviews with potential witnesses, joint meetings with clients,
  depositions via telephone, or exchanging documents outside of formal discovery.

         In those cases in which: (i) the parties’ substantive allegations involve extensive
  computer-generated records; (ii) a substantial amount of disclosure or discovery will involve
  information or records in electronic form (i.e., e-mail, word processing, databases); (iii) expert
  witnesses will develop testimony based in large part on computer data and/or modeling; or (iv)

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   The term “party” as used in this Order means counsel for any party represented by a lawyer, and
  any pro se party not represented by a lawyer.


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  any party plans to present a substantial amount of evidence in digital form at trial, the parties
  shall confer regarding steps they can take to preserve computer records and data, facilitate
  computer-based discovery and who will pay costs, resolve privilege issues, limit discovery costs
  and delay, and avoid discovery disputes relating to electronic discovery. The parties shall be
  prepared to discuss these issues, as appropriate, in the proposed Scheduling Order and at the
  scheduling and planning conference.

         These are the minimum requirements for the Rule 26(f) meeting. The parties are
  encouraged to have a comprehensive discussion and are required to approach the meeting
  cooperatively and in good faith. The parties are reminded that the purpose of the Rule 26(f)
  meeting is to expedite the disposition of the action, discourage wasteful pretrial activities, and
  improve the quality of any eventual trial through more thorough preparation. The discussion of
  claims and defenses shall be a substantive, meaningful discussion.

         The parties are reminded that pursuant to Fed. R. Civ. P. 26(d), no discovery shall be
  sought prior to the Rule 26(f) meeting.

          (3) The parties shall comply with the mandatory disclosure requirements of Fed. R. Civ.
  P. 26(a)(1) on or before:

                                            March 26, 2014.

  Counsel and parties are reminded that mandatory disclosure requirements encompass computer-
  based evidence which may be used to support claims or defenses. Mandatory disclosures must
  be supplemented by the parties consistent with the requirements of Fed. R. Civ. P. 26(e).
  Counsel and parties are reminded that mandatory disclosure requirements encompass computer-
  based evidence which may be used to support claims or defenses. Mandatory disclosures must
  be supplemented by the parties consistent with the requirements of Fed. R. Civ. P. 26(e).
  Mandatory disclosures and supplementation are not to be filed with the Clerk of the Court.

          (4) All parties are expected to be familiar with the United States District Court for the
  District of Colorado Local Rules of Practice (D.C.COLO.LCivR.). Copies are available from
  Office of the Clerk, United States District Court for the District of Colorado, or through the
  District Court’s web site: www.cod.uscourts.gov.




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        All out-of-state counsel shall comply with D.C.COLO.LCivR. 83.3 prior to the
  Scheduling/Planning Conference.

         Dated this 13th day of January, 2014.

                                                     BY THE COURT:



                                                     _________________________________
                                                     Kathleen M. Tafoya
                                                     United States Magistrate Judge




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